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                                                                              Juror No.

                                  JUROR QUESTIONNAIRE


                                         Preliminary Matters
  1.   Are you able to read, write, and understand the English language?
       []Yes           []With difficulty      []No

 2.    Do you feel that you are able to complete this questionnaire without another's assistance?
       []Yes           []No

       If no, please complete the certification on the last page of the questionnaire without
       answering any additional questions and return your questionnaire to the Court.

  3.   Do you have any significant problems with your hearing or eyesight?
       []Yes           []No

       (a)     If yes, please explain:.


  4.   Do you suffer from any physical or mental condition(s) that would make it unusually
       difficult for you to serve as a juror or pay close and careful attention to the evidence
       presented for extended periods of time?
       []Yes                []No            []Unsure

       (a)     If yes or unsure, please explain:



  5.    Do you take any prescription medication that affects your thinking, attention,
        concentration, your ability to sit for 90 minutes at a time, or might otherwise affect
        your service as ajuror?
       []Yes                  []No

       (a)     If yes, please state the name of the medication(s) and explain:


  6.    The trial in this case will start Febmary 1, 2022. The trial may last four weeks, and could
        last longer or conclude sooner. Do you have any very serious personal, professional, or
        financial issues that would prevent you from being present and attentive in Court for the
        duration of the trial? In answering this question, you should know that it is imlawful for
        an employer to discharge, intimidate, or coerce any employee because of the employee's
       jury service.

       []Yes                  []No

        (a)    If yes, please explain:
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 7.     Do you have any previously pre-paid travel during the course of what is expected to be
        an approximately four-week trial?
        []Yes               []No

        (a)     If yes, please explain:




 8.     Are you currently a student?
        []Yes,full-time         []Yes,part-time         []No
        (a)      If yes, where do you attend school?.

        (b)      If yes, will your class schedule interfere with your ability to serve as a juror in
                 this trial?
                []Yes           []No

        (c)      If yes to (b) above, please explain:

 9.      Are you the sole or primary caretaker of a minor child, or an elderly or disabled family
         member or dependent whose care would interfere with your ability to serve as a juror in
         this trial?
        []Yes            []No

        (a)      If yes, please explain:.


 10.     Prior to receiving this questionnaire, have you asked to be excused from this jury panel?
        []Yes                   []No

         (a)      If yes, please explain:

  11.    Do you have any personal, religious, philosophical or other beliefs that would make it
         difficult for you to sit in judgment of another person as a juror in a criminal case?
        []Yes                   []No            []Unsure
         (a)      If yes or unsure, please explain:
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12.      Is there any other reason why you could not be present in court and give your Ml
         attention every day for this trial?
         []Yes         []No

         (a)     If yes, please explain:.


 13.     This case has and will receive media attention. It is important that this case be decided
         solely on the evidence presented in the courtroom and not on the hasis of information
          obtained outside the courtroom. As a result, the jury will be instructed not to read,
          watch, view,or listen to any news accounts of this trial whatsoever, not to conduct any
          internet searches related to this case, and not to talk to or to communicate with anyone
          about the case, including through the use of the internet, e-mail or social media such as
          Twitter, Facebook, Skype, YouTube, WhatsApp, Snapchat, Instagram, TikTok, or other
          modes of electronic communication, until the case is over. Would you find it difficult to
         obey such an instmction for any reason?
         []Yes                 []No           []Unsure
           (a)     If yes or unsure, please explain:,


                                            Personal Background

  14.       Full name: Last                             ^First                    Middle.
  15.       Gender:


   16.      Age:                         Date of birth:.
   17.     What is your current marital status?
           []Single and never married
           []Single, but living with non-marital partner fix      years
           []Married, and have been for            years
           []Divorced, but married in the past for   years
           []Separated, but married in the past for   years
           []Widowed, but married in the past for    years
               Number of marriages, if more than one
                   Number of divorces, if any

   18.      How long have you lived in the Commonwealth of Virginia(total years)?
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                                                                              Juror No.


  19.    If you have children or stepchildren, please list them:
                        Live with
  OCA


 (a)
 (b)
 (c)
 (d)
 (e)


 20.    Are you(check any and all that apply):
        []Self-employed               []Unemployed,looking for work
        []Employed full-time          []Unemployed, not looking for work
        []Working part-time        []Retired
        []A student                []Homemaker
        []Disabled and unable to work

 21.    If you are currently employed in any capacity, either full-time, or part-time, please state:
        (a)     Occupation:

        (b)     Employer:.

        (c)     Type of work:_

        (d)     Location where you work(city/neighborhood):.

        (e)     Years employed in presentjob:

         (f)    Explain your duties or responsibilities, including any supervisory
                responsibilities




         (g)    Do you supervise others?
                []Yes        []No

                (a)If yes, how many?

         (b)     Do you have any responsibility for hiring or firing?
                []Yes          []No
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       (i)    If you are self-employed or own a business, would serving on a multi-week jury
              trial create a financial hardship?
              []Yes          []No           []Unsure

              (a) If yes or unsure, please explain:



 22.   If you are not currently employed, please state:

       (a)    Your last employer:                     —

       (b)    For how long:

       (c)    Number of months since last employed:
       (d)     Your occupation:

       (e)     Your job responsibilities:


       (f)     Did you supervise others?
              []Yes            []No

               If yes, how many?

        (g)    Did you have any responsibilities for hiring or firing?
              []Yes            []No

        (h)    Reason(s)for leaving:

  23    If you are married or currently share a household with someone who is employed in my
        capacity, either full-time or part-time, please state the following with respect to that
        person's work:

        (a)     Occupation:.

        (b)     Employer:_

        (c)     Type of work:.

        (d)     Location where s/he works(city/neighborhood):.
        (e)     Years employed in present job:
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       (f)     Explain his/her duties or responsibilities, including any supervisory
               responsibilities:,


       (g)   Does s/he supervise others?
             []Yes         []No

              (a)If yes, how many?                                 —
       (h)     Does s/he have any responsibility for hiring or firing?
             []Yes             []No

 24.   Do you now, or have you ever owned your own business?
       []Yes          []No

       (a)     If yes, what type of business?,


 25.   Have you or any member of your immediate family or any close personal friends
       ever served as a corporate officer or member of the Board of Directors in any
       business or corporation?
       []Yes            []No

       (a)     If yes, please explain:.


 26.   If you or your spouse or non-marital partner currently hold an additional job or have held
       any other job in the last ten years not addressed above, please describe that employment
       using the categories in the questions above:




 27.    Check the highest level of education for you and your spouse/partner:
                                                      You                    Spouse
                                                                             St     / Partner
       (a)      Grade school or less
       (b)      Some high school
       (c)      High school graduate / GED
       (d)      Technical or vocational school
       (e)      Some college
       (f)      2-year college degree
       (g)      4-year college degree
       (b)      Some graduate work or study
       (i)      Master's degree
        G)      Doctoral degree (or equivalent)
       (k)      Other
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                                                                              Juror No.



       If other, please explain:

28. If you or your spouse/partner had any educational training beyond high school, please list
        all degrees you and/or your spouse/partner have received and the area ofstudy.
        Self
       (a)     Degree(s):
       (b)     Field(s) of study: _
       (c)      Name ofschool(s):,

        Spouse/Partner:
        (d)     Degree(s):
        (e)     Field(s) of study: _
        (f)     Name of school(s):

 29.    Do you have any special certifications or licenses?
       []Yes           []No

        (a)     If yes, please explain:


 30.    If you are not an attorney, have you taken any law courses?
        []Yes          []No

         If so, indicate the following:
                   School                 Date         Length of Course               loElc
        (a)
        (b)
        (c)

 31.     Do you have specialized training in the securities, franchising, venture capital,
         investment, financial services, or insurance industries?
        []Yes           []No

         (a)     Ifyes, please explain:


  32. Do any of you have any strong opinions either for or agamst financial advisors,
         stockbrokers, trust companies,banks,insurance salesmen, or investment brokers.
        []Yes           []No

         (a)     If yes, please explain:
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33.     Do any of you have specialized training in the cell phone or teleconununications industries?
         []Yes            []No

         (a)     If yes, please explain:,


 34.     Please list the organizations to which, to the best of your knowledge, you or yo^
         spouse/partner belong or in which either of you actively participate, either now or m the
         past three (3) years. (Include any civic, social, religious, chantable, volunteer, sporting,
         professional, business, fraternal, and recreational groups.)
          (a) Self:


          (b) Spouse/Partner:


                                               Legal System

  35.     Have you ever served as a juror before?
          []Yes            []No

           If yes,indicate for each:
                                                                  Reach a
                                                                  verdict               If not,
           Civil/           Federal/
                                            Tvpe of Case          ("ves/noj              whv?
  Year     Criminal         State




          (a)       Have you ever served as a juror on a grand jury?
                    []Yes           []No

                    If yes, when and where:

          (b)       Have you ever served as a jury or grand jury foreperson?
                    []Yes           []No

           (c)        Was there anything about your experience as a juror or grand juror that left you
                      disappointed or dissatisfied with our criminal justice system?
                    []Yes           []No

                      Please explain:
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                                                                                Juror No.


        (d)      Would anything about your jury or grand jirry service make you want to or not
                 want to serve again?
                []Yes            []No

                 If yes, please explain:


 36. Have you, or has any member of your family or close friend or relative, ever been the
        victim of, or witness to a crime, whether or not that crime was reported to law
        enforcement authorities?
        []Yes            []No

        (a)      If no, go to the next numbered question. If yes, please provide the following
         information for each person and incident:

 Relationship            Type of           Victim or   Reported to Was anyone Outcome of
 rSelf. sister, etc.)    Crime             Witness     Police?       Caught?        the Case




         (b) In what ways, if any, did any of these incidents that you, or a person close to you,
                experienced affect your attitudes about crime, in general, or certam cnmes m
                particular?




          (c) Did you have any concerns about how the police or law enforcement authorities
                 handled the above situation(s)?




  37.      Have you, or, to your knowledge, any family members, or any close friends ever been:
          (a)      Any ofthe following:                                                      []No
                                                                              []Yes
                   (1) Accused of a crime?
                   (2)     Questioned by police or law enforcement                           []No
                           personnel, including military law enforcement?     []Yes
                                                                              []Yes          []No
                   (3)     Arrested or charged with a crime?                                 []No
                                                                              []Yes
                   (4)     Convicted of a crime?
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                                                                                     Juror No.


         (b)      If yes for any of the above, please provide the following:
  Relationship of
                                     Crime(s)                               Case
  person charged                                                            outcome
  tSelf. Sister, etc.!               charged/investigated




         (c) If yes to any of"a" above, please provide a brief description of the alleged crime(s)
                 and the events leading up to the accusation, arrest or charge. —                —.



          (d)      What was your opinion of how fairly the individual(s) mentioned above was
                   treated?




          (e)      How, if at all, would this experience affect you if you served as a juror in this
                    case?




  38. Do you know of anyone who felt that he/she was falsely accused of a cnme?
          []Yes             []No

           (a)      Ifyes, please explain:


           (b)      If yes, how,if at all, would this affect you if you served as a juror m this case?


   39.    Do you know anyone personally who is or has been in prison orjail?
         []Yes              []No

           (a)      If yes, please give the following details:
            Relation to You                  Charge



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                                                                              Juror No.




        (b) If yes, how,if at all, would this affect you if you served as a juror in this case?


 40. Other than what you have already explained, have you ever been involved in any legal
     proceeding, in any capacity, for example as a plaintiff, defendant, victim, lawyer, witness
       (whether in court or by deposition outside of court), or expert?
        []Yes           []No

        (a)     If yes, please explain:


        (b)     Did the legal process in that instance operate fairly in your opinion?

        (c)     How,if at all, would that experience affect your jury service in this case?

  41. Other than what you have aheady explained, has any family member or person wi&
      whom you have a close personal relationship ever testified in a grand jury or m court.
       []Yes            []No

         (a)    If yes, please provide the following details:
         Type of Case                     Relationship (ifany)                Reason for Testifying

  42 Have you, or any members of your family, ever been employed by any law enforcenient
     agency, such as: a police department, sheriffs department, the Vngima State Police
     (VSP) the State Bureau ofInvestigation (SBI), the Federal Bureau ofInvestigation( I),
     Immigration and Customs Enforcement (ICE), Homeland Security Investigatio^ (fflS),
         Defense Criminal Investigative Service (DCIS), the Internal Revenue Service (IRS), the
         Drug Enforcement Administration(DEA), the Bureau of Alcohol, Tobacco, Firearms and
         Explosives (ATF), the United States Secret Service(USSS),the United States Citizenship
         and Immigration Services (USCIS). Office of the Attoiiiey General of Vngmi^ the U S^
         Marshal's Service, the U.S. Park Police, a United States Attorney's Office, the United
         States Department of Justice, a District/Commonwealth or State s Attorney s OHice a
         probation or parole office, the Bureau of Prisons, the state department of corrections, the
         court system, or any other local, state or federal law enforcement agency or pnvate
         security force?
         []Yes             []No




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                                                                                Juror No.


        (a)     If yes, for each person (yourself or family member), please indicate the law
         enforcement office or agency, the period of time employed, if known, and a genera
         description ofthe job duties;                                          -




 43. Have you ever had a favorable or unfavorable experience with an attomey or a judge?
        []Yes          []No

         (a)     If yes, please explain;



         (b)     If yes, how,if at all, would this affect you if you served as a juror m this case?

  44.   Have you or a member of your family, either persoually or in connection with ^
         been involved in any claim, legal action or dispute with any local, state, or federal.
         governmental agency?
         []Yes         []No

         (a)      If yes, please describe;


  45.    Have you, or any members of your family,ever been employed by or a client of, Dom
         WeslLent Groi,Family Wealth Law Group PC,BayPort Credit Umon,Dommion Pnvate
         Client Group, LLC, Dominion Franchise, LLC, Dental Support Plus LLC,Dental Suppo
         Pte Frmchi e NJM Spectrum LLC, Intellection LLC, PECS Management, Sugar Time
         MmagemeS tole Dental, Nascence, LLC, DSPF Group LLC, Janus Spectrum Group
         LLC, Janus Spectrum LLC, Spectrum 100 LLC, Prime   LLC> ^"^tor
         LLC,PLI Group LLC, David Alcom Professional Corporation, A.W. Smith & Associates,
         Inc., Sellers Financial Advisors, or The Financial Light?
          []Yes          []No

          fal   If yes for each person
          employme'S'theperiodrf   time(yourself
                                         employed,or ifknown,
                                                     family member), pleasedescnption
                                                              and a general indicate theofplace
                                                                                           the jobof
           duties;




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                                                                             Juror No.


                                         Media and Activities


  46. Do you or your spouse/partner maintain a blog or other online
       journal or personal website?
       []Yes           []No

        (a)     If yes, please describe:


  47. Do you regularly use and make comments on social networking web sites, such as
        Facebook, Instagram, Linkedin, or Twitter?
        []Yes                 []No

        (a)     If yes, please describe the categories of things you comment on:


                General Opinions and Beliefs about the Criminal Justice System
  48. The indictment in this case is merely an accusation and not evidence of guilt. Would you
        have any difficulty treating the indictment as an accusation and not evidence of guilt?
        []Yes                   []No

         (a)     If yes, please explain:


  49. . A defendant in a criminal trial has no obligation to testify. Jurors cannot draw any
        conclusion from the fact that a defendant chooses not to testify. The fact that a defendant
        may choose not to testify cannot be a factor in reaching your verdict. Would you have
        any difficulty following these mles?
         []Yes                    []No

         (a)     If yes, please explain:



  50. A defendant is presumed innocent and cannot be convicted unless the jury, based on a
      the evidence, unanimously decides that his or her guilt has been proved beyond a
        reasonable doubt. The burden of proving guilt rests entirely on the govemmmt. A
        defendant has no obligation to prove his or her innocence. Would you have any difficulty
         following these rules?
         []Yes           []No              []Unsure

         (a)     If yes or unsure, please explain:


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  51.   Sometimes witnesses who testify are given immunity from prosecution or otherwise
        lenient treatment by the government. As to such a witness, would that fact alone prevent
        you from believing that person, even before you have heard any of his or her testimony?
        []Yes          []No           []Unsure

         (a)    If yes or unsure, please explain:



  52.   Would you give any more or less weight to the testimony of a law enforcement officer
        than to testimony of any other witnesses solely because of his or her employment in law
        enforcement?
        []Yes          []No           []Unsure

         (a)    If yes or unsure, please explain;

                                    Connection to the Defendant

  53.   Do you, a family member, or any close friend know or have any connection (personal,
        political, and/or business) to David Alcom, Aghee William Smith, n, Thomas L. Bamett,
        Norma Jean Coffin, Daryl G. Bank, Billy J. Seabolt, Raeann Gibson, Kent Maerki, Tony
        Sellers, Roger Hudspeth, or to any member of their respective families you are aware of, or
        to any other person you are aware of who has a close personal connection to David Alcom,
        Aghee William Smith, II, Thomas L. Bamett, Norma Jean Coffin, Daryl G. Bank, Billy J.
        Seabolt, Raeann Gibson, Kent Maerki, Tony Sellers, or Roger Hudspeth, including anyone
        who is to your knowledge their current or former close fiiends, clients, associates,
        employees, or co-workers?
         (Check all that apply)                      Self       Family member        Close friend

          Know David Alcom                                                           []
          Know David Alcom's family or
                 close personal connections                                          []


          Know Aghee William Smith, H                                                []
          Know Aghee Smith's family or
                close personal connections                                           []


          Know Thomas L. Bamett                                                      []
          Know Thomas L. Bamett's family or
                 close personal connections                                          []


         Know Norma Jean Coffin                                                       []


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        Know Norma Jean Coffin's family or
               close personal connections         []              []                []


        Know Daryl G. Bank                        []              []                []
        Know Daryl G. Bank's family or
        close personal connections                []              []                []


        Know Billy J. Seabolt                     []              []                []
        Know Billy J. Seabolt's family or
        close personal connections                []              []                []


        Know Raeann Gibson                        []              []                []

        Know Raeann Gibson's family or
        close personal connections                []              []                []


        Know Kent Maerki                          []              []                .[]
        Know Kent Maerki's family or
        close personal connections                 []              []               []


        Know Tony Sellers                          []              []               []

        Know Tony Sellers' family or
        close personal connections                 []              []               []


         Know Roger Hudspeth                       []              []               []

         Know Roger Hudspeth's family or
         close personal connections                []              []               []


         (a)    If yes, please explain:




   54 Have you, your spouse/significant other, any family members or any close friends ever
      done any of the following in support of defense or government efforts concerning
      allegations of criminal wrongdoing by David Alcom, Aghee William Smith, H, Thomas L
      Bamett, Norma Jean Coffm, Daryl G. Bank, Billy J. Seabolt, Raeann Gibson, Kent
         Maerki, Tony Sellers, or Roger Hudspeth? (If yes, check all that apply).
         []Yes          []No


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                                                                             Juror No.


                                                             Spouse/        Family       Close

                                                      Self   sig. other     member       Friend

        (a)    Wrote a letter to the editor           []       []            []           []
        (b)    Signed a petition                      []       []            []           []
        (c)    Posted a comment online                []       []            []           []
        (d)    Received an email or other
                communication seeking
                financial or other support            []       []            []           []

        (e)     If yes, please explain:


                                          Case Questions

  55. The defendants, David Alcom, Aghee William Smith, II, & Thomas L. Bame^ are
      charged with conspiracy to commit mail fraud and wire fraud, and wire fraud. David
      Alcom is also charged with money laundering. Have you seen, heard or read anything
        about this case?
        []Yes          []No

  56. How closely have you followed the news about this case?
        []Very closely
        []Somewhat closely
        []Not very closely
        []Not at all

  57. Please indicate from what source(s) you heard about the case. If you answered "not at all
        to question 56, please skip this question.(Check all that apply.)
         (a)    []Television
                []Newspapers
                []Magazines
                []Radio
                []Intemet
                []Blog/chatroom
                []Personal knowledge of defendant(s) or their family,friends or acquaintances
                []Personal knowledge of potential witnesses in this case
                []Personal conversations with others in the community
                []Overheard others discussing the case
                []Other sources ofinformation(list):

         (b)     Please describe the sources for any ofthe options checked above.


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 58.    Have you expressed an opinion about this case or about those involved to anyone,either
        through conversations or through writing to any newspaper, magazine, or publication;
        calling in to any television or radio program; or posting comments or likes on the
        Internet?
        []Yes             []No

        (a)        If yes, what were the circumstances and what opinion did you express?



 59.     Do you or any member of your immediate family or close personal friends know
         anyone who has covered this case or investigation for any media outlet?
        []Yes             []No

        (a)        If yes, please explain:



  60. If you have heard about this case in the news media or otherwise, will you be able to set
      aside what you have heard, listen to the evidence in tiiis case, and be fair to both sides?
        []Yes             []No

         (a)        If no, please explain;



  61. If, after hearing all of the evidence in this case, you concluded that the government had
        proved beyond a reasonable doubt that David Alcom, Aghee William Smith, n, and/or
        Thomas L. Bamett is guilty, would you have any reservations in voting guilty?
        []Yes              []No              []Unsure

         (a)        If yes or imsure, please explain:



  62. If, after hearing all of the evidence in this case, you concluded that the government had
      not proved beyond a reasonable doubt that David Alcom, Aghee William Smith, 11,
         and/or Thomas L. Bamett is guilty, would you have any reservations in voting not
         guilty?
         []Yes             []No              []Unsure

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                                                                               Juror No.



        (a)     If yes or unsure, please explain:



  63.   The judge presiding over this case is United States District Judge Raymond A. Jackson.
        Do you, anyone in your family, or any close personal friend know Judge Jackson or
        anyone else who works in this courthouse?
        []Yes                  []No

        (a)     If yes, please explain who you know and how:,


  64.    The prosecutors in this case are Melissa O'Boyle, Andrew Bosse, and Elizabeth Yusi.
        (a)     Do you know, or have you had any contact, either social or professional, with any
         individuals listed above, or any other member of the United States Attorney's Office or
         Department of Justice?
               []Yes                  []No               []Unsure

        (b)     If yes or unsure, please explain:



  65. The lead government law enforcement investigators in this case are Special Agents
        Jennifer Collins and Julie Shields of the of the Federal Bureau of Investigation (FBI),
        Special Agent Andrew Bowers of the Internal Revenue Service Criminal Investigation
        (IRS-Cl), and Special Agent Jason Thomasson of the United States Postal Inspector
        Service (USPIS).

         (a) Do you know, or have you had any contact, either social or professional, with any
               individuals listed above, or any other member of the FBI, IRS-Cl, or USPIS?
                []Yes                  []No              []Unsure

         (b)    If yes or unsure, please explain:



  66. The attorneys representing the defendants in this case are Richard Scott Yarow, of the
        law firm Richard S. Yarow LLC, Anthony Michael Gantous, of Anchor Legal Group,
        PLLC, and Lindsay Jo McCaslin and Andrew William Grindrod, Federal Public
        Defenders.

         (a) Do you know, have you or a family member been a client of, or have you had any
                contact, either social or professional, with the individual listed above, or any other
                member of the law firms listed above?
                []Yes                  []No              []Unsure

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             (b)     If yes or unsure, please explain: ,



 67.         Other than what you have already explained, do you or any member of your immediate
            family or close personal friend know anyone who may be associated in any capacity with
            this case, its investigation, or its preparation for either the government or one ofthe
             defendants?
            []Yes            []No

             (a)     If yes, please explain:




 68.         Do you have a personal or professional relationship with any of the following individuals?
            (Check all that apply.)

                                                                        Yes    No         Unsure

       1.       Donald Anderson                                         n      n             []
       2.       Robert Anderson                                         11     n             n
       3.       Charlotte Armas                                         n      n             11
       4.       Teresa Austin                                           11     11            11
       5.       Brian Avery                                             11     11            11
       6.       Teresa Avery                                            11     11            11
       7.       Margaret Babitch                                        11     11            11
       8.       Debra Barry                                             11     11            11
       9.       J. Michael Barry                                        11     11            n
       10.      Peggy Barry                                             11     11            ri
       11.      Alan Baskin                                             11     11            11
       12.      Coleman Bazelon                                         11     11            n
       13.      SharyonBean                                             11     11            n
       14.      Wilfried Bemdt                                          11     11            11
       15.      Boimie Bemdt                                            11     11            n
       16.      Bob Berrett                                             11     11            ri
       17.      Denise Brown                                            11     11            11
       18.      Jeff Browne                                             11     11            11
       19.      Teresa Busch                                            11     11            11
       20.      Richard Busch                                           11     11            11
       21.      Gary Clapper                                            11     11             n
       22.      Darryl Clark                                            11     11            11
       23.      Ruth Clark                                              11     11             n
       24.      Paul Coffin                                              11     11            n
       25.      Arthur Copeland                                          11     11            n
       26.      Roger Courson                                            11     11            11

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   27.    Susan Courson                             n      n            [1
   28.    Irene Dafoe                               n     n
   29.    Nathaniel Dodson                          ri    [1            n
   30.    Tuesday Douglas                           n     n             n
   31.    L. Doug Dunn                              n      n
   32.    Rosie Eads                                [1    [1            n
   33.    John English                              n     [1
   34.    Jeff Eschrich                             n     n             n
   35.    Constance Flammang                        n     n             n
   36.    Matthew Fowles                            n      n            n
   37.    Rick Fernandez                            n      [1           n
    38.   Raelene Gastman                            n     n            n
    39.   Nicholas Gentile                           n     n            n
   40.    Kvle Gerek                                 n     n            n
   41.    Raeann Gibson                              n     n
    42.   Alan Ginn                                  n     n            n
    43.   Carol Goff                                 n                  n
    44.   Sunshine Grissom                           n     n            n
    45.   Vanaleen Elatfield                         n     n            ri
    46.   Laura Houston                              n     n            n
    47.   Roger Hudspeth                             n     [1           n
    48.   Sylvester Hullum                           n                  n
    49.   Patricia Hundley                           n     fl           n
    50.   John Hutchinson                            n     [1           n
    51.   David Idigpio                              ri    n            n
    52.   Deborah Jenkins                            n     n            n
    53.   Derek Jones                                n     [1           n
    54.   Helen Larson                               n     n             1   1


    55.   Edward Lichtig                             n     [1            n
    56.   Justin Lira                                ri    n             n
    57.   Lawrence Lyon                              n      ri           n
    58.   Alain Martell                                     fi           n
    59.   Ray Martin                                  n     n            n
    60.    Shelley Maule                              n    [1            n
    61.   Dennis McCrumb                                   [1            n
    62.    Linda McRae                                n     n            n
    63.   Peter Melley                                n     n            n
    64.    Peter Moncure                              n     n            n
    65.    Narmette Moore                             n
    66.    Glenda Mounce                              n     n                n
    67.    Susan Newell                               n    [1                n
    68.    Gary Norman                                n    []                n
    69.    Darcy Oliver                               n     n                n
    70.    Jon Palmieri                               n     n                n
    71.    Amos Parker                                n     [1               n
    72.    Peter Perry                                n     n                n



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   73.     Dee Pinkston                                          n                    n
   74.     Adan Rangel                                           n      n             n
   75.     Nancy Reed                                            n      n             n
   76.     Carole Reisinger                                      n      n             n
   77.     Thomas Revnolds                                       n      n             n
   78.     Matthew Roth                                          n      n             n
   79.     Barbara Russell                                       n      n             n
   80.     Tony Sellers                                          n      n             n
    81.    Brian Semple                                                 n             n
    82.    Robert Semple                                         n      n             n
    83.    Stanley Seret                                         n      n             n
    84.    Brian Smith                                           n      n             n
    85.    Lamont Smith                                          n      n             n
    86.    Roger Smith                                           n      n             n
    87.     Grecie Suarez                                        n                    n
    88.     Ken Sykes                                            n      n             n
    89.     Sandra Takashi                                              n             n
    90.     Glenn Takeda                                         n      [1            n
    91.     Allan Tilles                                         n       n            [1
    92.     Andrea Tottossy                                             [1            n
    93.     Joe Tottossy                                         ri     [1            n
    94.     Terri Walsh                                          n      [1            n
    95.     Charles West                                         n       n            n
    96.     Kimberly "Max" White                                 n       n             n
    97.     Michael J. Wilhelm                                   ri     [1             n
    98.     Arthur Willis                                        n      fl             n
    99.     Wing Wong                                            n      []             n
    100.    Michelle Yee                                         n      n              f1
    101.    Phillip Yee                                          n       n             n
    102.    William Yee                                          [1      n             n
    103.    Lucille Zenke                                        n       n             n
    104.    Aaron Bobkin                                                 fl            n
    105.    Bill Gray                                             n      n             n
    106.    Dale Gray                                             n      n             n
    107.    Bob Labine                                            fi     n             fl
    108.    Bobby Jones                                           n      n             fl
    109.    Jon Palmieri                                          n      n             fl
    110.    Peter Lewis                                           n      n             fl
    111.    Tom Littler                                           n      n             fl

                                           Conclusion


  69. Do you believe that if the law as given to you by the judge goes against your personal
          views of what the decision should be, you would tend to base your verdict on your
          personal views of the case?
          []Yes                  []No

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 70. As a result of filling out this questionnaire, have you now formed any opinion about this
       case?
       []Yes                  []No

        (a)     If yes, please explain:,



 71. Is there any reason that you believe you should not sit as a juror in this case?
      []Yes                    []No

        (a)      If yes, please explain:


 72. Other than civic duty, is there any reason that you would want to serve as a juror (or as
       foreperson of the jury)in this case?
       []Yes                  []No

        (a)     If yes, please explain:

 73. Is there any reason you have not already explained that you would not want to serve as a
       juror in this case?
        []Yes                  []No

        (a)     If yes, please explain:

  74. After being notified that you may serve as a juror in this case, did you discuss anythmg
      other than the possibility that you may be a juror on this case with anyone, including
       family, friends, and co-workers, etc.?
       []Yes                  []No

         (a)     If yes, please explain to whom you discussed this case, the nature of what was
         discussed, and what, if any additional information, you learned as a result of those
         discussions:


  75. After receiving this questionnaire and thus being notified that you may serve as a juror in
      this case, did you follow or access any media coverage or view or search out any
        information on the Intemet concerning this case?
        []Yes                 []No

         (a)     If yes, please explain:


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 76. Is there anything else that you think the Court should know that might influence your
       ability to fairly and impartially judge the evidence in this case and to apply the law as
       instructed by the Court?
       []Yes                   []No

        (a)     If yes, please explain:



 77. Is there any matter you would prefer to discuss privately with the Judge?
       []Yes                   []No

        (a)     If yes, please explain:



  78. Is there anything that was not asked that you believe is important to know about you as the
      court, government counsel, and defense counsel assess your suitability to serve as a tair
        and impartial juror?




         INSTRUCTION: WHEN YOU HAVE FINISHED ANSWERING ALL OF THE
         QUESTIONS, PLEASE COMPLETE PAGE 24, THE SIGNATURE PAGE.




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                                       STrrNATUItE PAGE



                                                                               hereby declare under
                               (Print Your Name)
 penalty of perjury that the foregoing answers set forth in this Jiuy Questionnaire are true and
 correct to the best of my knowledge and belief. I have not discussed my answers with others, or
 received assistance in completing the questionnaire. I have answered all of the above questions
  in this Jury Questionnaire myself.



  I FURTHER UNDERSTAND THAT I AM NOT TO DISCUSS THIS CASE WITH
  ANYONE OR SEEK OUT, LISTEN TO, OR READ ANY MATERIAL ABOUT THIS
  CASE IN THE MEDIA, ON THE INTERNET OR ELSEWHERE UNTIL THE JUDGE
  IN THIS CASE HAS INSTRUCTED ME OTHERWISE.


         Executed in the Eastern District of Virginia, on this        day of          —,202TL.


                                                                 (Your Signature)




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                            EXPLANATION SHEETS




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